Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 1 of 26



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


   FEDERAL TRADE COMMISSION,                                 Case No. 9:19-cv-80431

          Plaintiff,                                         COMPLAINT FOR PERMANENT
                                                             INJUNCTION AND OTHER
          v.                                                 EQUITABLE RELIEF

   OFFICE DEPOT, INC., a corporation, and

   SUPPORT.COM, INC., a corporation,

          Defendants.


         Plaintiff, the Federal Trade Commission (“FTC”), for its Complaint alleges:

         1.      The FTC brings this action under Section 13(b) of the Federal Trade Commission

  Act (“FTC Act”), 15 U.S.C. § 53(b), to obtain permanent injunctive relief, rescission or

  reformation of contracts, restitution, the refund of monies paid, disgorgement of ill-gotten

  monies, and other equitable relief for Defendants’ acts or practices in violation of Section 5(a) of

  the FTC Act, 15 U.S.C. § 45(a).

                                    SUMMARY OF THE CASE

         2.      From at least 2009 to November 2016, Office Depot, Inc. (“Office Depot”), its

  subsidiary OfficeMax, Inc. (“OfficeMax”) (collectively, “Office Depot Companies”), and its

  tech-support services vendor throughout this time period, Support.com, Inc. (“Support.com”),

  made misrepresentations to consumers regarding the security of their computers. Support.com

  provided the Office Depot Companies with the “PC Health Check Program,” a software program

  designed as a sales tool to convince consumers to purchase diagnostic and repair services.

  Defendants advertised the PC Health Check Program to consumers as a free service that

                                                  -1-
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 2 of 26



  purportedly diagnosed consumers’ computers for security problems and performance issues,

  including scanning the computer for viruses.

         3.      In numerous instances throughout this time period, Defendants used the PC

  Health Check Program to report to Office Depot Companies customers that the scan had found

  or identified “Malware Symptoms” when it had not done so. Additionally, in numerous

  instances, the PC Health Check Program falsely reported to consumers that the program had

  found “infections” on the consumer’s computer.

         4.      Contrary to these representations, the PC Health Check Program did not and, by

  design, could not “find” or “identify” anything to return these results. Rather, Support.com

  programmed the PC Health Check so that whenever an Office Depot Company employee

  checked any one of four checkboxes (relating to generic computer concerns, such as pop-ups,

  slowness, crashes, or virus warnings) that appeared at the beginning of the program before the

  scan started (the “Initial Checkbox Statements”), the PC Health Check Program automatically

  reported in the PC Support Agent Report (the “Detailed Report,” a copy of which is attached as

  Exhibit A) the detection of malware symptoms and, for a time, “infections.” Despite the

  statements in the PC Health Check Program’s Detailed Report that the scan “found infections” or

  “found” or “identified” malware symptoms, the PC Health Check Program’s detection of

  malware symptoms was entirely dependent on whether any of the Initial Checkbox Statements

  was checked and not on the actual state of the computer. Nothing in the PC Health Check

  Program or in the Office Depot Companies employee’s interaction with the customer informed

  consumers that this predetermined result was simply the result of checking a box.




                                                 -2-
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 3 of 26



         5.      Support.com provided and the Office Depot Companies used the PC Health

  Check Program at Office Depot and OfficeMax retail locations to sell computer repair or

  technical services to consumers. Based on the deceptive representations made by Defendants

  through the PC Health Check Program, consumers purchased computer diagnostic and repair

  services that could cost more than $300 per service.

         6.      Defendants bilked unsuspecting consumers out of tens of millions of dollars from

  their use of the PC Health Check Program to sell costly diagnostic and repair services.

                                   JURISDICTION AND VENUE

         7.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337(a),

  and 1345 and 15 U.S.C. §§ 45(a) and 53(b).

         8.      Venue is proper in this district under 28 U.S.C. § 1391(b)(2), (c)(2), and (d) and

  15 U.S.C. § 53(b).

                                             PLAINTIFF

         9.      The FTC is an independent agency of the United States Government created by

  statute. 15 U.S.C. §§ 41–58. The FTC enforces Section 5(a) of the FTC Act, 15 U.S.C. § 45(a),

  which prohibits unfair or deceptive acts or practices in or affecting commerce.

         10.     The FTC is authorized to initiate federal district court proceedings, by its own

  attorneys, to enjoin violations of the FTC Act and to secure such equitable relief as may be

  appropriate in each case, including rescission or reformation of contracts, restitution, the refund

  of monies paid, and the disgorgement of ill-gotten monies. 15 U.S.C. §§ 53(b), 56(a)(2)(A).




                                                  -3-
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 4 of 26



                                            DEFENDANTS

         11.     Office Depot is a Delaware corporation with its principal place of business at

  6600 North Military Trail, Boca Raton, Florida. Office Depot is a nationwide retailer that

  operates over a thousand stores selling office supplies and furniture, as well as offering print

  services and technical support services. In November 2013, Office Depot merged with

  OfficeMax. The combined company operates as Office Depot but also continues to operate retail

  locations under both the Office Depot and OfficeMax store banners. Office Depot, in connection

  with the matters alleged herein, transacts or has transacted business in this district and

  throughout the United States.

         12.     Support.com is a Delaware corporation with its principal place of business at

  1200 Crossman Avenue, Suite 210, Sunnyvale, California. Support.com provides cloud-based

  software and technical support services directly to consumers through its website, as well as

  technology support services indirectly to consumers through Support.com clients, including

  office supply retailers. Support.com, in connection with the matters alleged herein, transacts or

  has transacted business in this district and throughout the United States.

                                            COMMERCE

         13.      At all times material to this Complaint, Defendants have maintained substantial

  courses of trade in or affecting commerce, as “commerce” is defined in Section 4 of the FTC

  Act, 15 U.S.C. § 44.

                             DEFENDANTS’ BUSINESS ACTIVITIES

                                               Overview

         14.     In July 2007, Office Depot and Support.com entered into an agreement whereby

  Support.com would provide computer repair and technical services to Office Depot customers.

                                                  -4-
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 5 of 26



  Pursuant to this agreement, Office Depot sold computer tune-up, diagnostic, and repair services

  at Office Depot stores that it branded as Office Depot services but were fulfilled by Support.com

  employees. Those employees remotely accessed consumers’ computers that had been brought

  into Office Depot stores. Office Depot and Support.com divided the proceeds from the sale of

  each tech-support service that Support.com fulfilled for Office Depot customers.

         15.     Under this agreement, from approximately July 2007 to November 2016,

  Support.com licensed, made available, and distributed to Office Depot a software program

  variously known as PC Health Check, PC Tune-up, PC Support Agent, and PC Checkup (the

  “PC Health Check Program”) in order to facilitate the sale of computer repair services to Office

  Depot retail customers.

         16.     Defendants configured the PC Health Check Program to recommend to

  consumers specific services sold by Office Depot and fulfilled by Support.com. Support.com

  provided the PC Health Check Program to Office Depot for use at its stores to further their

  shared goal of increasing sales of tech-support services.

         17.     To assuage Office Depot’s concerns about the length of time the PC Health Check

  Program ran, Support.com presented it to Office Depot as one of its “conversion tools that

  simplify sales process for associates and expand program reach” and a “recommendation map

  designed to maximize return on in-store traffic.” Support.com informed Office Depot that this

  software program runs in only a few minutes using “heuristic questions to identify likely

  malware infestations.”




                                                 -5-
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 6 of 26



         18.     With this understanding of the PC Health Check Program, Office Depot instructed

  its store employees to use the PC Health Check Program to sell tech-support services offered in

  the Office Depot stores and performed remotely by Support.com technicians.

         19.     OfficeMax entered into a similar agreement with Support.com in 2009 and, by

  2011, began using the PC Health Check Program in a similar fashion in its stores.

         20.     After Office Depot and OfficeMax merged in or around November 2013,

  Defendants continued to use the PC Health Check Program under the Office Depot and

  OfficeMax store banners until November 2016.

                The Office Depot Companies Lured Consumers Into Stores with
                              Promises of a “Free PC Tune-up”

         21.     To promote the PC Health Check Program offered in its stores, the Office Depot

  Companies used various marketing and advertising methods, including radio commercials, print

  and online ads, promotions, and promotional cards. The Office Depot Companies crafted these

  marketing and advertising materials to entice consumers to bring their computers into stores so

  that an Office Depot Company employee could install and run the PC Health Check Program on

  the consumer’s computer.

         22.     The Office Depot Companies marketed the PC Health Check Program as a “free

  PC tune-up,” a “free PC check up,” and, at times, as a free “professional tune-up.” In numerous

  instances, the Office Depot Companies claimed that the value of the free PC tune-up service was

  $19.99, $29.99, or even $60, but offered the service to consumers for free.

         23.     The Office Depot Companies told consumers that a store “tech expert” would

  “run complete diagnostics” on the computer and the PC Health Check Program would




                                                 -6-
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 7 of 26



  “optimize” the computer. As described below, the PC Health Check Program did not run

  complete diagnostics on consumers’ computers.

         24.     In addition to commercial advertisements such as radio and print ads, the Office

  Depot Companies created the “PCHC card,” a card for Office Depot Companies store employees

  to hand out to consumers in its stores. One typical iteration of the PCHC card advertised: “We

  fix computers. Come in today for your FREE PC tune-up. Improve overall system performance.

  Security Assessment. Scans the system for viruses.”

         25.     The Office Depot Companies trained store employees to ask consumers, “When

  was the last time you had a professional tune up done on your PC?” The Office Depot

  Companies also trained store employees to tell consumers that the PC Health Check Program

  will make their PC run faster and check for viruses and to schedule the consumer for an

  appointment to return to the store with his or her computer for the free PC tune up. The Office

  Depot Companies instructed its employees to offer to run the PC Health Check Program on

  every computer that a consumer brought into a store.

         26.     Support.com also provided input on the content of the PCHC cards and provided

  training to retail employees of the Office Depot Companies on how to engage and promote the

  PC Health Check Program to consumers when handing out the PCHC cards at the stores.

         27.     The PC Health Check Program became an important part of the Office Depot

  Companies’ tech services sales strategy and was responsible for a substantial share of its tech

  service revenues.




                                                 -7-
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 8 of 26



        Overview of the Office Depot Companies’ Use of the PC Health Check Program

         28.     When the consumer brought a computer into an Office Depot or OfficeMax store

  for the “free PC tune-up,” the Office Depot Companies’ store employees would install and run

  the most recent version of the PC Health Check Program on the consumer’s computer.

         29.     Support.com made accessible the most recent version of the PC Health Check

  Program on a webpage or web portal created and maintained specifically for the Office Depot

  Companies’ store employees.

         30.     Defendants actively tracked the number of times Office Depot and OfficeMax

  store employees utilized the PC Health Check Program. At the request of the Office Depot

  Companies, Support.com captured this data whenever Office Depot Companies store employees

  ran the PC Health Check Program and downloaded the software from the web portal.

  Support.com supplied this information to the Office Depot Companies in various reports.

         31.     The Office Depot Companies used the information and data from these reports to

  monitor and comparatively assess stores’ performance based in part on their usage of the PC

  Health Check Program.

         32.     The PC Health Check Program was composed of a number of components,

  including, inter alia, a pre-scan questionnaire page containing four questions with corresponding

  checkboxes, a brief system scan (including a “Quick Malware Scan”), a Detailed Report, and a

  service recommendation. Later versions of the PC Health Check Program also included limited

  optimizations that took place between the brief system scan and the Detailed Report, such as

  removing junk files and reconfiguring certain settings.




                                                 -8-
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 9 of 26



         33.     However, the results of the Quick Malware Scan were unrelated to the results

  returned when one of the Initial Checkbox Statements was selected. That is, even if the Quick

  Malware Scan found no evidence of malware or a virus, such a finding would not change the

  poor “security status” result and finding of “malware symptoms” or “infections” that was

  automatically returned whenever one of the Initial Checkbox Statements was selected.

         34.     Once the PC Health Check Program was installed and opened on a consumer’s

  computer, the program displayed the question “Does your computer have any of the problems

  below?” followed by the Initial Checkbox Statements. While the PC Health Check Program

  page containing the Initial Checkbox Statements changed in appearance from 2009 to 2016, the

  wording of the Initial Checkbox Statements remained the same. The Initial Checkbox

  Statements, as illustrated in Figure 1 below, read: (i) “Frequent pop-ups or other problems

  prevent me from browsing the internet,” (ii) “My PC recently became much slower or is too slow

  to use,” (iii) “I am often warned of a virus infection or I am asked to pay for virus removal,” and

  (iv) “My PC frequently crashes.”




                                                 -9-
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 10 of 26




    Figure 1: PC Health Check Program initial screen (2016 in-store version)

         35.     Defendants trained Office Depot and OfficeMax store employees on how to

  utilize the PC Health Check Program and instructed store employees to check any of the Initial

  Checkbox Statements that applied based on the consumer’s responses. Consistent with their

  training, Office Depot and OfficeMax store employees read each of the Initial Checkbox

  Statements once the program began and selected the corresponding box based on the consumer’s

  response. If the consumer indicated that she had not experienced any of the issues, the store

  employee could proceed to the scan portion of the PC Health Check Program with none of the

  boxes checked.

         36.     Consistent with corporate policy, the Office Depot Companies required store

  employees to run the PC Health Check Program in front of the consumer. Once the store

  employee initiated the scan, the PC Health Check Program displayed a screen listing four

  categories starting with, as shown in Figure 2 below, performance (represented by a gauge icon),



                                                - 10 -
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 11 of 26



  security (represented by a shield icon), data (represented by a meter icon), and system

  (represented by a gear icon).




    Figure 2: PC Health Check Program scanning screen (2016 in-store version)

         37.     Defendants configured and customized the PC Health Check Program to briefly

  scan specific parts of the computer, conduct certain checks of the performance, security, data,

  and system, and assign a “status” to each of these categories. Support.com customized PC

  Health Check Program pursuant to the general specifications required by the Office Depot

  Companies. The Office Depot Companies thereafter reviewed and approved upgrades or

  modifications to the design or configuration of the PC Health Check Program before it was made

  available to the Office Depot and OfficeMax stores.

         38.     The PC Health Check Program displayed a progress bar under each category

  reflecting the progress of the scan and checks for that category. After completing the scan, the




                                                - 11 -
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 12 of 26



  PC Health Check Program listed on a scan results screen the status of each category as “poor,”

  “fair,” or “good” (as shown in Figure 3 below).

         39.     In addition to displaying the terms “poor,” “fair,” or “good,” the status of each

  category was also reflected through the use of colors and either a checkmark or an “X.” A status

  of “poor” resulted in a red “X” with the word “poor” also rendered in red, a “fair” status resulted

  in a yellow checkmark with the word “fair” rendered in yellow, and a status of “good” resulted in

  a green checkmark with the word “good” rendered in green. Additionally, the icons representing

  each category were shaded with the color corresponding to the status. For example, the PC

  Health Check Program displayed the shield representing “security” in red if the security status

  was “poor” or green if it was “good.”




    Figure 3: PC Health Check Program initial scan results screen (2016 in-store version)

         40.     Displayed under each category’s status was a link titled “more details.” Clicking

  on this link pulled up the “Detailed Report” listing the results of the scan and various checks run



                                                 - 12 -
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 13 of 26



  by the PC Health Check Program for each category. The Detailed Report again displayed the

  automated “results” of the Initial Checkbox Statements and the Quick Malware Scan. The

  Office Depot Companies required its store employees to review with the consumer the scan

  results generated in the Detailed Report.

         41.     In addition to the “more details” link, the PC Health Check Program displayed a

  button labeled “Repair & Recommend” in the upper right corner of the screen (as shown in

  Figure 3 above). Clicking on this button initiated a number of limited optimizations that

  Defendants claimed would improve the performance category of the computer. These

  optimizations, however, had no effect on the security category.

         42.     After this process, the PC Health Check Program displayed a final scan results

  page that reflected the changed status of one or more non-security categories (such as

  “Performance” as shown in Figure 4 below).




  Figure 4: PC Health Check Program final scan results page (2016 in-store version)

                                                - 13 -
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 14 of 26



         43.    In conjunction with displaying the final scan results page, the PC Health Check

  Program generated an updated Detailed Report purporting to show the specific results found by

  the program and any changes the program made. This Detailed Report also displayed the

  automated “results” of the Initial Checkbox Statements and the Quick Malware Scan. The

  Office Depot Companies required its store employees to review the final scan results generated

  in the Detailed Report with the consumer. The Office Depot Companies required its store

  employees running the scan to save this Detailed Report to the desktop on the consumer’s PC.

         44.    The PC Health Check Program’s final scan results page displayed a button labeled

  “view recommendation” in the upper right corner (as shown in Figure 4 above).

         45.    Clicking on this button led to a final screen that displayed a detailed description of

  the service the PC Health Check Program recommended for purchase (as shown in Figure 5

  below).




  Figure 5: PC Health Check Program Service Recommendation Page (2016 in-store version)


                                                - 14 -
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 15 of 26



         46.     The Office Depot Companies instructed its store employees to offer the

  recommendations made by the PC Health Check Program. For example, when the PC Health

  Check Program recommended a diagnostic, repair, and protection service, in numerous

  instances, the Office Depot Companies’ store employees would recommend a service package

  that contained a diagnostic, repair, and protection service, in addition to any add-on services or

  products included in the package.

                            Defendants Used the PC Health Check
                   Program to Make Deceptive Representations to Consumers

         47.     Defendants configured and used the PC Health Check Program to falsely report to

  consumers that the scan portion of the program “found” or “identified” malware symptoms or

  infections whenever an Initial Checkbox Statement was checked, regardless of whether the

  computer was infected or had symptoms of malware. These misrepresentations were stated in a

  section of the Detailed Report relating to “Malware Symptoms.” In fact, the scan itself did not

  “find” or “identify” anything to return the results listed in the “Malware Symptoms” section

  because the results under this section were triggered only by checking one of the Initial

  Checkbox Statements.

         48.     The PC Health Check Program reported the results of the Quick Malware Scan

  under a separate heading in the Detailed Report, as shown in Exhibit A. The results of the

  Quick Malware Scan had no impact on the findings that were always returned whenever one of

  the Initial Checkbox Statements was selected.

         49.     Defendants configured the PC Health Check Program to make these

  misrepresentations throughout the time Support.com provided the program to the Office Depot

  Companies.


                                                  - 15 -
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 16 of 26



         50.    Since at least 2009 through November 2016, the Office Depot stores, through the

  PC Health Check Program Detailed Report, falsely represented to consumers that the scan found

  symptoms of malware on the consumer’s computer, as illustrated below:




  Figure 6: PC Health Check Program Detailed Report when any Initial Checkbox Statements
  were checked

         51.    In fact, the scan was not connected to this finding in the Detailed Report. Rather,

  the PC Health Check Program automatically generated the “Malware Symptoms Found” result

  solely because the Office Depot store employee checked one or more of the Initial Checkbox

  Statements at the outset of running the program on a consumer’s computer. As such, the

  “Malware Symptoms Found” result was independent of any actual scan or check performed by

  the PC Health Check Program.

         52.    Defendants further misrepresented to consumers, through the PC Health Check

  Program Detailed Report, what the scan had found or identified by making additional statements

  directly below the “Malware Symptoms Found” result. Support.com configured this language,

  with input and approval from the Office Depot Companies. The language in the Detailed Report

  changed over the time that Office Depot stores used the PC Health Check Program.

         53.    For example, from at least 2009 until approximately June 2011, immediately after

  misrepresenting to consumers that the PC Health Check Program found malware symptoms,

  Defendants compounded this misrepresentation by stating in the Detailed Report that consumers’

  computers “could be infected with malware,” as seen below:




                                               - 16 -
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 17 of 26




  Figure 7: Additional language in the Office Depot PC Health Check Program Detailed Report
  when any Initial Checkbox Statements were checked (May 2009 to June 2011)

         54.    Starting in or around July 2011 and until October 2015, this language was

  modified and Defendants represented to consumers that the PC Health Check Program had

  “found infections in your system,” in addition to “finding” malware symptoms:




  Figure 8: Additional language in the Office Depot PC Health Check Program Detailed Report
  when any Initial Checkbox Statements were checked (from at least July 2011 to October 2015)

         55.    In October 2015, Defendants changed the language found under the “Malware

  Symptoms Found” statement to state that the “scan has identified potential malware related

  symptoms”:




  Figure 9: Additional language in the Office Depot PC Health Check Program Detailed Report
  when any Initial Checkbox Statements were checked (October 2015 to November 2016)

  This language in the Detailed Report appeared until November 2016 when the Office Depot

  Companies stopped using the PC Health Check Program.

         56.    In late 2010 or early 2011, Support.com began providing OfficeMax the PC

  Health Check Program for use in OfficeMax stores. From at least July 2011 to November 2016,



                                               - 17 -
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 18 of 26



  OfficeMax used the PC Health Check Program to misrepresent to consumers that the scan found

  malware symptoms whenever an Initial Checkbox Statement was checked. Along with

  deceptively claiming that the PC Health Check Program found malware symptoms, the program

  also stated, without substantiation, that “Your system may be infected with malware”:




  Figure 10: OfficeMax PC Health Check Program Detailed Report and additional language when
  any Initial Checkbox Statements were checked (July 2011 to November 2016)

         57.     Contrary to the statements made by the PC Health Check Program described in

  Paragraphs 50 through 56, the scan portion of the PC Health Check Program did not search for or

  find anything to generate the results appearing under the “Malware Symptoms” section of the

  Detailed Report. Rather, the PC Health Check Program was configured by Support.com and the

  Office Depot Companies such that whenever Office Depot or OfficeMax store employees

  checked one or more Initial Checkbox Statements before running the scan, the program

  automatically and invariably returned the result “Malware Symptoms Found” and the

  explanatory language that appeared under that heading.

               The Office Depot Companies Knew that PC Health Check Program
                   Falsely Reported that the Scan Found Malware Symptoms

         58.     Since at least 2012, the Office Depot Companies understood that checking any of

  the four boxes would lead to a malware symptoms finding. Indeed, in May 2013, OfficeMax

  warned its stores not to run the PC Health Check Program after a tech repair service had been

  completed because, if “any of the questions at the beginning of the [PC Health Check Program]

  are checked, it will automatically suggest a Software repair,” because the “tool ‘assumes’ there is

  an infection based on questions asked.”

                                                - 18 -
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 19 of 26



         59.        In 2015, Support.com account executives reminded the Office Depot Companies’

  sales management team that “if any of these [boxes] are selected, the recommended service will

  be a Diagnostic SKU, as the assumption is that the system is infected.”

                      The Office Depot Companies Aggressively Pushed the
               PC Health Check Program Despite Complaints from Store Employees

         60.        Since at least 2012, the Office Depot Companies received complaints and

  concerns from store employees about the accuracy and reliability of how the PC Health Check

  Program reported the detection of malware or malware symptoms.

         61.        In 2012, for example, an employee notified Office Max’s corporate management

  team that PC Health Check would report malware symptoms on a computer that “doesn’t have

  anything wrong with it” just by checking one of the four boxes. The employee wrote: “I cannot

  justify lying to a customer or being TRICKED into lying to them for our store to make a few

  extra dollars.”

         62.        In 2013, the Florida Attorney General’s Office informed Office Depot about

  complaints regarding Office Depot’s tech-support services. One of the complaints came from an

  Office Depot employee who reported that Office Depot was using a software program that “will

  make consumers believe their computer has a virus….” This sample of complaints was

  forwarded to Office Depot’s corporate counsel.

         63.        In 2014, an Office Depot store employee observed that the PC Health Check

  Program is “rather poor and either wrong or inconclusive” and that the program “finds malware

  symptoms but independent scans reveal no issues.” The employee suggested that the Office

  Depot Companies reconfigure the PC Health Check software “so it does not come back with




                                                  - 19 -
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 20 of 26



  false positives and/or Diag+Repair every time.” The employee’s concerns and suggestions were

  escalated to Office Depot’s corporate management team.

         64.     In 2015, an Office Depot store employee told the manager of his store that he

  believed the statement “found infections in your system” was deceptive. The store manager

  escalated this complaint through his chain of command at Office Depot, informing his district

  manager that the store employee had mentioned “calling a lawyer” and complaining to an

  internal employee complaint hotline. The district manager escalated the complaint to other

  management personnel. This complaint was also relayed to Support.com.

         65.     Despite these complaints and concerns, the Office Depot Companies instructed its

  store employees to continue to advertise the free tune-up service, continue to run PC Health

  Check Program on computers brought into the stores, and to convert 50% or more of all PC

  Health Check runs into tech-support service sales.

         66.     The Office Depot Companies rewarded store employees who were promoting the

  PC Health Check Program with positive performance reviews and by paying extra commissions

  to store managers and store employees who met their weekly PC Health Check runs and tech-

  support service sales goals. At the same time, the Office Depot Companies censured store

  managers and store employees who continually failed to meet these company-wide targets.

         67.     For example, the Office Depot Companies’ sales management team

  communicated to stores on a weekly (and often daily) basis, both the number of PC Health

  Checks stores were expected to run weekly, as well as the expected rate of converting such PC

  Health Checks into sales of tech-support services. The Office Depot Companies singled out

  stores that failed to meet these weekly PC Health Check targets by conducting



                                                - 20 -
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 21 of 26



  “underperforming” calls with the stores’ managers that reproached their stores’ performances. In

  numerous instances, district or store managers evaluated store employee performance based on

  how many PC Health Check appointments the store employee scheduled and what tech-support

  services they sold from that appointment.

          68.     The Office Depot Companies also launched incremental profit generating

  initiatives whereby it instructed its stores collectively to raise millions of dollars in profit by

  increasing the number of PC Health Check services performed and the rate of converting the PC

  Health Check services into tech-service sales.

          69.     In late 2016, a Seattle-area television station (“KIRO 7”) aired a series of

  investigative reports about the tech service divisions of Office Depot stores in Washington and

  Oregon that were flagging malware or malware symptoms on computers that were, unbeknownst

  to the stores, brand new and straight out of the box. A former Office Depot employee at one

  these stores alerted KIRO 7 of these business practices. In November 2016, shortly after this

  news report broke, the Office Depot Companies suspended its use of the PC Health Check

  Program.

          70.     From 2012 until November 2016, the Office Depot Companies collected tens of

  millions of dollars from using the PC Health Check Program to sell costly diagnostic and repair

  services at its stores. During this time period, the Office Depot Companies used the PC Health

  Check Program on thousands of consumers’ computers each week across its stores nationwide.

          71.     Defendants have failed to provide assurances against future violations. Rather,

  the senior manager at the Office Depot Companies primarily responsible for procuring tech-




                                                   - 21 -
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 22 of 26



  support vendors testified, under oath, that it would be proper for the company to continue

  offering the same PC Health Check to consumers even after the KIRO 7 news report.

         72.     Defendants have the incentive and opportunity to engage in similar tactics in the

  future. In or about 2017, the Office Depot Companies severed their relationship with

  Support.com and acquired a tech-support services company. Following this acquisition, the

  Office Depot Companies are continuing to offer computer diagnostic services and sell computer

  repair services.

                Support.com Provided the Deceptive PC Health Check Program to
             the Office Depot Companies Knowing It Would be Used with Consumers

         73.     Support.com is the developer and licensor of the PC Health Check Program.

  Support.com retained the program’s code and was responsible for making any changes to the PC

  Health Check Program, including changes related to the appearance and functionality of the

  program.

         74.     Support.com worked closely with the Office Depot Companies to configure and

  customize the PC Health Check Program. Support.com and the Office Depot Companies were

  both involved in drafting and implementing the language that appeared in the Detailed Reports

  generated by the PC Health Check Program.

         75.     Since at least June 2012, Support.com was also aware of complaints and concerns

  raised by Office Depot Companies’ store employees about the purported finding of malware or

  malware symptoms by the PC Health Check Program. Support.com nonetheless continued to

  provide the PC Health Check Program to the Office Depot Companies.




                                                - 22 -
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 23 of 26



          76.     Support.com provided the PC Health Check Program to the Office Depot

  Companies for nearly a decade. Support.com knew that the Office Depot Companies used the

  PC Health Check Program nationwide in its stores as a sales tool.

          77.     Since 2012, Support.com has collected tens of millions of dollars in revenues

  from the Office Depot Companies’ use of the PC Health Check Program and sales of diagnostic

  and repair services at its stores.

                                  VIOLATIONS OF THE FTC ACT

          78.     Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or deceptive acts

  or practices in or affecting commerce.”

          79.     Misrepresentations or deceptive omissions of material fact constitute deceptive

  acts or practices prohibited by Section 5(a) of the FTC Act.

          80.     It is a violation of Section 5(a) of the FTC Act to place into the hands of another

  the means or instrumentalities of violating Section 5(a) of the FTC Act.

                                 Count I – Deceptive Representations

          81.     In numerous instances in connection with the marketing, offering for sale, or sale

  of computer security or technical support services, Defendant Office Depot has represented,

  directly or indirectly, expressly or by implication, as described in Paragraphs 47 through 57, that

  the PC Health Check Program has detected infections or symptoms of malware on consumers’

  computers.

          82.     Office Depot’s representations as set forth in Paragraph 81 of this Complaint are

  false, misleading, or were not substantiated at the time the representations were made.




                                                  - 23 -
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 24 of 26



         83.     Therefore, Office Depot’s representations set forth in Paragraph 81 of this

  Complaint constitute deceptive acts or practices in violation of Section 5(a) of the FTC Act, 15

  U.S.C. § 45(a).

                                 Count II – Means and Instrumentalities

         84.     Defendant Support.com provided the Office Depot Companies with the PC Health

  Check Program. The representations made through the PC Health Check Program, expressly or

  by implication, as set forth in Paragraphs 47 to 57 of this Complaint, are false, misleading, or

  were not substantiated at the time they were made and constitute a deceptive act or practice in

  violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a). Support.com accordingly provided

  the Office Depot Companies with the means and instrumentalities for the commission of

  deceptive acts or practices.

         85.     Therefore, Support.com’s practices as set forth in Paragraph 84 of this Complaint

  constitute deceptive acts or practices in violation of Section 5(a) of the FTC Act, 15 U.S.C.

  § 45(a).

                                        CONSUMER INJURY

         86.     Consumers have suffered and will continue to suffer substantial injury as a result

  of Defendants’ violations of the FTC Act. In addition, Defendants have been unjustly enriched

  as a result of their unlawful acts or practices. Absent injunctive relief by this Court, Defendants

  are likely to continue to injure consumers, reap unjust enrichment, and harm the public interest.

                         THIS COURT’S POWER TO GRANT RELIEF

         87.     Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), empowers this Court to grant

  injunctive and such other relief as the Court may deem appropriate to halt and redress violations



                                                 - 24 -
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 25 of 26



  of any provision of law enforced by the FTC. The Court, in the exercise of its equitable

  jurisdiction, may award ancillary relief, including rescission or reformation of contracts,

  restitution, the refund of monies paid, and the disgorgement of ill-gotten monies, to prevent and

  remedy any violation of any provision of law enforced by the FTC.

                                        PRAYER FOR RELIEF

          Wherefore, Plaintiff FTC, pursuant to Section 13(b) of the FTC Act, 15 U.S.C. § 53(b),

  and the Court’s own equitable powers, requests that the Court:

          A.      Enter a permanent injunction to prevent future violations of the FTC Act by

  Defendants;

          B.      Find Defendants jointly and severally liable for redress to all consumers who were

  injured as a result of their violations, as appropriate;

          C.      Award such relief as the Court finds necessary to redress injury to consumers

  resulting from Defendants’ violations of the FTC Act, including but not limited to, rescission or

  reformation of contracts, restitution, the refund of monies paid, and the disgorgement of ill-

  gotten monies; and

          D.      Award Plaintiff the costs of bringing this action, as well as such other and

  additional relief as the Court may determine to be just and proper.




                                                   - 25 -
Case 9:19-cv-80431-RLR Document 1 Entered on FLSD Docket 03/27/2019 Page 26 of 26




                                     Respectfully submitted,

                                     ALDEN F. ABBOTT
                                     General Counsel

   Dated:   3 {2..1 / Z.O\ q_         tkA/1 p ,W ~~-...mr
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                                      - 26 -
